       Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 1 of 14



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO




LEEANN TRUJILLO,

               Plaintiff,

       vs.                                                    Civ. No. 19-885 MV/JFR

AMERICAN AIRLINES,

               Defendant.




                 PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

       THIS MATTER is before the Court sua sponte. The Court must decide if the time has

come to dismiss this lawsuit due to Plaintiff’s failure to prosecute her case. Because the Court

has repeatedly warned Plaintiff that her case could be dismissed unless she made an effort to

prosecute the case, and because Plaintiff has failed to heed such warnings, and because no

indication exists that Plaintiff will attempt to prosecute her case in the future, the undersigned

recommends that the Court enter an Order dismissing this case for failure to prosecute.

                                   PROCEDURAL HISTORY

       Plaintiff filed this employment discrimination lawsuit under the New Mexico Human

Rights Act against her former employer, American Airlines, Inc., and two individual defendants,

Robert Conwell and Charley Stewart, alleging that they discriminated against her on the basis of

sex and pregnancy. Doc. 1-1. Plaintiff began this case in New Mexico state court on March 20,

2019. Id. On September 23, 2019, Defendants removed this action to federal court on the basis
        Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 2 of 14



of diversity jurisdiction.1 Doc. 1. On November 15, 2019, the Court entered a scheduling order

and set a settlement conference.2

        On February 25, 2020, Plaintiff’s counsel filed a Motion to Withdraw as Attorney

(“Motion”). Doc. 21. On February 27, 2020, the Court scheduled a telephone status conference

for March 4, 2020. Doc. 23. At the telephone status conference, the Court addressed the Motion

and inquired whether Plaintiff had been served with the Motion. Doc. 24. Attorney Timothy

White informed the Court that he had emailed the Motion to Plaintiff, but that Plaintiff had not

responded. Id. Mr. White also stated that he had sent the Motion by registered mail to Plaintiff,

but was notified by the post office that Plaintiff, although notified, had refused to sign for the

delivery. Id. Mr. White informed the Court that in fact all of his attempts to communicate with

Plaintiff had been unsuccessful. Id. The Court advised Plaintiff’s counsel that it was hesitant to

move forward on the Motion absent some assurance that Plaintiff had received adequate notice

of counsel’s intent to withdraw. Id. Mr. White agreed to personally serve Plaintiff and would

file a notice with the Court when that had been accomplished. Id. On March 4, 2020, the Court

entered an Order Staying Discovery pending resolution of the Motion. Doc. 25.

        On April 1, 2020, Plaintiff’s counsel filed a Notice of Service certifying that on

March 12, 2020, Plaintiff had been served via process server and by email with the Motion.

Doc. 27. The Motion explicitly provided notice to Plaintiff that her failure to object within



1
  In its Notice of Removal, Defendants stated that although Defendants Stewart and Conwell are New Mexico citizens,
their citizenship should be disregarded because they were fraudulently joined. Doc. 1 at 2. Shortly after removal,
Defendants Conwell and Stewart filed motions to dismiss (Docs. 8, 9) and, on November 8, 2019, the Court dismissed
them based on Plaintiff’s failure to exhaust administrative remedies. Doc. 15.
2
  Plaintiff’s Expert Disclosures were due by 01/06/2020; Defendant’s Expert Disclosures were due by 02/06/2020;
Discovery was due by 03/06/2020; Discovery Motions were due by 05/01/2020; Pretrial Motions were due by
05/15/2020; and the Pretrial Order was due by 06/29/2020 (Plaintiff to Defendant) and 07/13/2020 (Defendant to the
Court). Doc. 17. A Settlement Conference was scheduled for 04/06/2020. Doc. 18.


                                                        2
        Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 3 of 14



fourteen (14) days would constitute her consent to the grant the Motion.3 Id. There being no

objections, the Court entered an Order granting Plaintiff’s counsel’s Motion on April 1, 2020,

and instructed the Clerk of the Court to indicate that Plaintiff was proceeding pro se and to

include her mailing address on the docket as indicated in the Motion. Doc. 28. The Court also

directed the Clerk of the Court to mail a copy of the Order to Plaintiff at her address of record.

Id.

         On April 3, 2020, the Court entered an Order Setting Telephone Status Conference for

April 20, 2020. Doc. 30. The Court mailed the Order to Plaintiff at her address of record. Id.

At the appointed date and time, Jennifer Anderson appeared on behalf of Defendant. Doc. 31.

Plaintiff pro se failed to appear.4 Id. The Court instructed defense counsel to attempt to contact

Plaintiff and determine whether she was prepared to move forward with her case. Id. The Court

also advised defense counsel that it would schedule another telephone status conference after

defense counsel and/or the Court had had contact with Plaintiff. Id. Finally, the Court entered

an Order to Show Cause ordering Plaintiff to show cause in a written response by May 8, 2020,

why she should not be sanctioned for noncompliance with the Court’s Order, and notifying her

that her failure to comply with the Order to Show Cause would constitute an independent basis

for sanctions, including dismissal of her action for want of prosecution. Doc. 32. The Court

mailed the Order to Show Cause to Plaintiff at her address of record. Id.




3
 Local Rule 83.8(b) provides that at attorney must give notice in a motion to withdraw that objections must be served
and filed within fourteen (14) days from date of service of the motion and that failure to object within this time
constitutes consent to grant the motion. D.N.M.LR-Civ. 83.8(b).
4
 The telephone status conference was on the record and can be found on the Liberty Recorder at ABQ-
MJ7thFloorSouth_20200420_145947.dcr.


                                                         3
        Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 4 of 14



        On May 12, 2020, the Court entered an Order and Amended Order Setting Telephone

Conference for May 20, 2020.5 Docs. 33, 34. The Court mailed the orders to Plaintiff at her

address of record. Id. On May 15, 2020, defense counsel filed a Certificate of Service certifying

that she mailed and emailed the Amended Order Setting Telephone Status Conference to

Plaintiff. Doc. 35. At the appointed date and time, Jennifer Anderson and Daniel Farrington

appeared on behalf of Defendant. Doc. 36. Plaintiff pro se appeared.6 Id. The Court inquired

why Plaintiff had failed to appear at the previous telephone status conference and failed to

respond to the Order to Show Cause. Id. Plaintiff explained that she had not received the notice

of the previous telephone status conference or the Order to Show Cause.7 Id. Plaintiff also

explained that she was attempting to retain new counsel to assist in prosecuting her case. Id.

The Court explained to Plaintiff that in the meantime she was proceeding pro se and that she was

obligated to prosecute her case and follow the same federal and local rules of civil procedure that

govern all litigants. Id. Having then heard from the parties, the Court advised the parties that it

would continue the stay of discovery to give Plaintiff an additional thirty days to retain new

counsel. Id. The Court, however, warned Plaintiff that if new counsel had not entered an

appearance within thirty days, that she would be required to appear and proceed on her own in



5
 The Court entered an Amended Order Setting Telephone Conference amended only to correct a date in the original
order. Doc. 34.
6
 The telephone status conference was on the record and can be found on the Liberty Recorder at ABQ-
MJ7thFloorSouth_20200520_085542.dcr.
7
  The Court notes that the April 3, 2020, Order Setting Telephone Status Conference (Doc. 30), the Order to Show
Cause (Doc. 32), and the May 12, 2020, Amended Order Setting Telephone Status Conference (Doc. 34), were all
mailed to the same address of record and that Plaintiff appeared at the May 20, 2020, telephone status conference
based on the May 12, 2020, Amended Order Setting Telephone Conference (Doc. 34). Doc. 36. Additionally,
defense counsel disputed Plaintiff’s representations to the Court regarding her lack of receipt of the Order to Show
Cause and argued that Ms. Trujillo had, in fact, acknowledge receipt of the Order to Show Cause to defense counsel
in an email communication between the parties. Id.



                                                         4
       Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 5 of 14



prosecuting her case. Id. The Court also warned Plaintiff that her failure to do so could result in

sanctions. Id. Plaintiff acknowledged her understanding on the record. Id. Having also heard

from the parties on the Order to Show Cause, the Court quashed the Order to Show Cause. Id.

The Court verified Plaintiff’s contact information, which was different from what appeared on

the record. Id. The Court instructed the Clerk’s Office to update the docket with Plaintiff’s most

recent contact information. Id.

        On May 20, 2020, the Court issued an Order Setting Telephone Status Conference for

9:30 a.m. on June 19, 2020. Doc. 37. The Court mailed the Order to Plaintiff’s address of

record. Id. The Court ordered all parties to appear. Id. At the appointed date and time, Jennifer

Anderson appeared on behalf of Defendant. Doc. 39. Plaintiff pro se failed to appear.8 Id.

Defense counsel provided the Court with a phone number for Plaintiff and the Court attempted to

reach Plaintiff by phone. Id. The call went directly to voice mail and the Court left a message.

Id. The Court then advised defense counsel that it would consider its course of action in light of

Plaintiff’s failure to appear. Id. Later in the day in response to the Court’s voice mail, Plaintiff

contacted chambers and explained that she had not received notice of the telephone status

conference. Id. at n. 1. Indeed, in reviewing the electronic receipt of its notification, the Court

found that the May 20, 2020, Order Setting Telephone Conference had been mailed to Plaintiff’s

previous mailing address. Id. The Court, therefore, rescheduled the telephone status conference

for June 25, 2020, and the Court mailed a copy of the Order to Plaintiff’s current residential and

email addresses. Doc. 40. The Court also, as a courtesy, notified Plaintiff and defense counsel

via email that the telephone status had been set for June 25, 2020, at 4:00 p.m., and provided call



8
 The telephone status conference was on the record and can be found on the Liberty Recorder at ABQ-
MJ7thFloorSouth_20200619_093025.dcr.


                                                       5
       Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 6 of 14



in instructions to connect to the proceedings. Additionally, on June 23, 2020, defense counsel

filed a Certificate of Service certifying that she mailed and emailed the Order Setting Telephone

Status Conference for June 25, 2020, to Plaintiff. Doc. 35.

        On the morning of the scheduled telephone status conference, June 25, 2020, the Court

telephoned Plaintiff at 8:05 a.m. The call went directly to Plaintiff’s voicemail and the Court

left a message reminding Plaintiff that the telephone status conference was scheduled for that day

at 4:00 p.m. At the appointed time, Jennifer Anderson and Daniel Farrington appeared on behalf

of Defendant. Doc. 42. Plaintiff pro se appeared.9 Doc. 42. Plaintiff informed the Court that

she had spoken with the Gilpin Law Firm and was in the process of making arrangements to pay

the retainer necessary for retaining them as counsel. Id. Although Defendant made certain

objections on the record regarding yet another delay in moving the case forward, the Court

agreed to give Plaintiff an additional fourteen days to complete her arrangements with the Gilpin

Law Firm and have counsel enter an appearance on her behalf. Id. The Court advised Plaintiff

that the failure of counsel to enter an appearance on her behalf within fourteen days would leave

her with the decision to either proceed pro se or dismiss her case because the Court would not

allow the case to remain unprosecuted. Id. Plaintiff acknowledged her understanding. Id.

        On June 25, 2020, the Court entered an Order Setting Telephone Status Conference for

July 10, 2020 at 3:00 p.m. Doc. 43. The Court mailed a copy of the Order to Plaintiff at her

residential and email addresses of record. Id. At the appointed date and time, Jennifer Anderson

and Daniel Farrington appeared on behalf of Defendant. Doc. 44. Plaintiff pro se failed to




9
 The telephone status conference was on the record and can be found on the Liberty Recorder at ABQ-
MJ7thFloorSouth_20200625_155945.dcr.


                                                       6
          Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 7 of 14



appear.10 Id. No attorney from the Gilpin Law Firm has entered their appearance on Plaintiff’s

behalf.

                                          LEGAL STANDARD

          The Federal Rules of Civil Procedure authorize a district court to impose sanctions,

including dismissal of a case, for a party’s failure to comply with court orders and discovery

requirements set by local and federal rules. Specifically, Rule 41(b) authorizes the involuntary

dismissal of an action “[i]f the plaintiff fails to prosecute or comply with the [Federal Rules of

Civil Procedure] or a court order.” Fed. R. Civ. P. 41(b); see also AdvantEdge Bus. Grp. v.

Thomas E. Mestmaker & Assocs., Inc., 552 F.3d 1233, 1236 (10th Cir. 2009) (“A district court

undoubtedly has discretion to sanction a party for failing to prosecute or defend a case, or for

failing to comply with local or federal procedural rules.” (internal citation omitted). As the

Tenth Circuit has emphasized, “the need to prosecute one’s claim (or face dismissal) is a

fundamental precept of modern litigation . . . .” See Rogers v. Andrus Transp. Services, 502 F.3d

1147, 1152 (10th Cir. 2007). “Although the language of Rule 41(b) requires that the defendant

file a motion to dismiss, the Rule has long been interpreted to permit courts to dismiss actions

sua sponte for a plaintiff’s failure to prosecute or comply with the rules of civil procedure or

court[s’] orders.” Olsen v. Mapes, 333 F.3d 1199, 1204 n.3 (10th Cir. 2003).

          “Dismissals pursuant to Rule 41(b) may be made with or without prejudice.” Davis v.

Miller, 571 F.3d 1058, 1061 (10th Cir. 2009). If dismissal is made without prejudice, “a district

court may, without abusing its discretion, enter such an order without attention to any particular

procedures.” Nasious v. Two Unknown B.I.C.E. Agents, at Arapahoe Cty. Justice Ctr., 492 F.3d



10
 The telephone status conference was on the record and can be found on the Liberty Recorder at ABQ-
MJ7thFloorSouth_20200710_145938.dcr.


                                                      7
       Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 8 of 14



1158, 1162 (10th Cir. 2016). Because “[d]ismissing a case with prejudice, however, is a

significantly harsher remedy -- the death penalty of pleading punishments -- [the Tenth Circuit

has] held that, for a district court to exercise soundly its discretion in imposing such a result, it

must first consider certain criteria.” Id. at 1162. “ ‘These criteria include (1) the degree of actual

prejudice to the defendant; (2) the amount of interference with the judicial process; (3) the

culpability of the litigant; (4) whether the court warned the party in advance that dismissal of the

action would be a likely sanction for noncompliance; and (5) the efficacy of lesser sanctions.’ ”

Id. (quoting Olsen, 333 F.3d at 1204)(internal quotations marks omitted); see also Ehrenhaus v.

Reynolds, 965 F.2d 916, 921 (10th Cir. 1992) (same) (hereinafter “Ehrenhaus factors”)). This

court also has recognized that a dismissal without prejudice can have the practical effect of a

dismissal with prejudice if the statute of limitations has expired. AdvantEdge Bus. Grp., 552

F.3d at 1236 (citing Gocolay v. N.M. Fed. Sav. & Loan Ass'n, 968 F.2d 1017, 1021 (10th

Cir.1992)); see also Sheridan v. U.S., 252 F. App’x 937, 939 (10th Cir. 2007) (unpublished)

(citing Brown v. King, 250 F. App’x 28, 29, (5th Cir. 2007) (citing Berry v. Cigna/RSI-CIGNA,

975 F.2d 1188, 1191 (5th Cir. 1992)) (“The scope of the court’s discretion is narrower when a

Rule 41(b) dismissal is with prejudice or when a statute of limitations would bar re-prosecution

of an action dismissed under Rule 41(b) without prejudice.”).

                                    EHRENHAUS ANALYSIS

        It is appropriate for this Court to recommend sua sponte dismissal because Plaintiff has

failed to prosecute her case or to comply with several of the Court’s orders. Fed. R. Civ. P.

41(b); Olsen, 333 F.3d at 1204 n.3. However, because the statute of limitations in this case

would bar re-prosecution of this action, a dismissal under Rule 41(b) without prejudice has the




                                                   8
        Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 9 of 14



effect of a dismissal with prejudice.11 Sheridan, 252 F. App’x at 939. As such, the scope of the

Court’s discretion is narrower and requires consideration of the Ehrenhaus factors. Nasious, 492

F.3d at 1162. Here, an analysis of the Ehrenhaus factors favors dismissal.

         A.        Prejudice to the Opposing Party

         Plaintiff initiated this case in state court on March 20, 2019. Doc. 1-1. It was not

removed to this Court until six months later on September 23, 2019, after which the two named

individual Defendants were dismissed on November 8, 2019, as improperly joined based on

Plaintiff’s failure to exhaust administrative remedies. Docs. 1, 15. The Court entered a

scheduling order on November 15, 2019, and by agreement of the parties this case was placed on

a 120-day track and discovery was set to close on March 6, 2020. Doc. 17. It was near the close

of the discovery, on February 25, 2020, when Plaintiff’s counsel moved to withdraw. Doc. 22.

The case then essentially stopped in its tracks because Plaintiff failed to respond to her counsel’s

multiple attempts to serve her with the Motion to Withdraw. In the meantime, on March 4, 2020,

the Court entered an order staying discovery in light of the settlement conference that was

scheduled to take place on April 6, 2020, which could not proceed given the pending Motion.


11
  New Mexico law is clear that the failure to file an appeal of the Human Rights Commission’s determination of the
NMHRA violation within ninety (90) days is fatal to a plaintiff’s claim. See Mitchell-Carr v. McLendon, 1999-
NMSC-025, 127 N.M. 282, 287, 980 P.2d 65, 70 (“[T]he district court must dismiss an NMHRA claim if the
prerequisites of obtaining an order from the [Human rights Commission] and appealing that order within [90] days
are not satisfied.” Additionally, New Mexico courts apply the rule that where a matter is dismissed without
prejudice for failure to prosecute, the applicable statute of limitations is not tolled and if the claims are later re-filed
after the statute of limitations has expired, those claims are barred. See King v. Lujan, 1982-NMSC-063, 98 N.M.
179, 180-81, 646 P.2d 1243, 1344-45 (“[W]e adopt the view that even though the filing of a suit ordinarily tolls the
applicable limitations period, when an action is dismissed without prejudice because of a failure to prosecute, the
interruption is considered as never having occurred . . . . Following such dismissal the statute of limitations is
deemed not have been suspended during the period in which the suit as pending.”); Gathman-Matotan Architects &
Planners, Inc. v. State, Dep’t of Fin. & Admin., Prop. Control Div., 1990-NMSC-013, 109 N.M. 492, 494-95, 787
P.2d 411, 413-14 (“Where an action is dismissed without prejudice because of a failure to prosecute, the action will
be deemed not to interrupt the running of an otherwise applicable statute of limitations, and a subsequent suit filed
on the same claim as the first after the statute has run will be barred.”); N.M. Uninsured Employers’ Fund v.
Gallegos, 2017-NMCA-044, 395 P.3d 533, 540 (quoting Foster v. SunHealthcare Grp., Inc., 2012-NMCA-072,
¶ 25, 284 P.3d 389) (“[w]hen a case is dismissed without prejudice for failure to prosecute, the dismissal operates to
leave the parties as if no action has been brought at all.”)).


                                                             9
       Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 10 of 14



Doc. 25. It was not until April 1, 2020, and only after receiving a formal Notice of Service that

Plaintiff’s counsel had personally served Plaintiff with the Motion, that the Court granted

counsel’s Motion and substituted Plaintiff’s pro se. Doc. 28. It would be another two months,

however, following an order setting telephone status conference (Doc. 30), Plaintiff’s failure to

appear (Doc. 31), an Order to Show Cause (Doc. 32), Plaintiff’s failure to respond, and a second

order setting telephone status conference (Doc. 34) before Plaintiff finally appeared and

communicated with the Court. Doc. 36. Further, having expressed to the Court that she would

have difficulty proceeding pro se because she would not understand the process, the Court

agreed to give Plaintiff an additional thirty days, and then an additional fourteen days, to retain

new counsel.12 Docs. 36, 42. Nonetheless, Plaintiff failed to appear at another two telephone

status conferences (Docs. 40, 44) and no counsel has entered an appearance on her behalf. All

told, it has been sixteen months since this case was initiated, the first eight of which involved its

removal to this Court and the dismissal of improperly joined parties, and the last five of which

have been stalled for want of prosecution. To allow the continued nonprosecution of this case is

prejudicial to Defendant. As a result, this factor weighs in favor of dismissing Plaintiff’s claims

pursuant to Rule 41(b).

        B.       Amount of Interference with the Judicial Process

        As previously noted, this case has been stalled for the past five months. The stall initially

began when Plaintiff refused to communicate with her attorney when he moved to withdraw

from this case on February 25, 2020. As a result, the Court was unable to take action on the

motion for six weeks, as opposed to what should have been two weeks in the face of a contested


12
   Plaintiff was on notice on March 12, 2020, that her counsel was withdrawing. Doc. 27. As such, Plaintiff had
already had approximately two months (69 days) in which to retain new counsel by the time she asked the Court for
additional time on May 20, 2020.


                                                       10
          Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 11 of 14



motion.13 Further, discovery had to be stayed until the motion was resolved, and a settlement

conference scheduled for April 6, 2020, had to be vacated. Doc. 25. Once Plaintiff pro se was

substituted for counsel, Plaintiff failed to appear at three scheduled telephone status conferences

and failed to respond to the Court’s Order to Show Cause. Additionally, despite defense

counsel’s attempts to reach out to Plaintiff to complete outstanding discovery, Plaintiff failed to

respond.14 Doc. 36. As such, Plaintiff’s failure to prosecute her case has interfered with, and

continues to interfere with, the judicial process. Thus, this factor also weighs in favor of

dismissing Plaintiff’s claims pursuant to Rule 41(b).

            C.       Culpability of the Litigants

            Here, Plaintiff has flouted this Court’s orders and chosen not to participate in her case

despite the Court’s giving her the benefit of the doubt with respect to her repeated explanations

of not receiving notice,15 despite the Court’s heightened actions to ensure notice; i.e., sending a

separate courtesy email and telephoning Plaintiff ahead of a scheduled telephone status to remind

her regarding her objection to attend, and despite the Court’s repeated warnings regarding

sanctions. Thus, this factor weighs in favor of dismissing Plaintiff’s claims pursuant to Rule 41.




13
     See fn. 3, supra.
14
  Defense counsel represented to the Court on at least two occasions that prior to Plaintiff’s counsel’s withdrawal the
parties had completed written discovery and that the only timely noticed deposition yet to be taken was Plaintiff’s.
Docs. 36, 42. Plaintiff’s deposition, however, was vacated when Plaintiff’s counsel moved to withdraw. Id. Defense
counsel informed the Court that after Plaintiff’s counsel’s withdrawal, Defendant had reached out to Plaintiff in written
communications regarding taking her deposition, but that Plaintiff had failed to respond. Doc. 36.
15
     See fn. 7, supra.



                                                          11
      Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 12 of 14



       D.      Whether the Court Warned Plaintiff in Advance That Dismissal
               Would Be a Likely Sanction for Non-Compliance

       On April 12, 2020, this Court entered an Order to Show Cause after Plaintiff failed to

comply with the Court’s order setting a telephone status conference. Doc. 30. In the Order to

Show Cause, Plaintiff was ordered to show cause, in a written response, why she should not

sanctioned for noncompliance with the Court’s order, and warning her that failure to comply

with the Order to Show Cause would constitute an independent basis for sanctions “including

dismissal of this action for want of prosecution.” Doc. 32. Plaintiff failed to respond to the

Order to Show Cause. On May 20, 2020, having accepted Plaintiff’s explanation that she had

not received notice of the status conference or the Order to Show Cause, the Court agreed to give

Plaintiff an additional thirty days to retain counsel and quashed the Order to Show Cause. Doc.

36. The Court advised Plaintiff, however, that in the meantime she was proceeding pro se and

was obligated to prosecute her case and follow the same federal and local rules of civil procedure

that govern all litigants. Id. The Court further advised Plaintiff that if new counsel did not enter

an appearance within thirty days, she would be required to proceed on her own. Id. The Court

further warned Plaintiff that her failure to do so could result in sanctions. Id. Plaintiff

acknowledged her understanding. Id. Subsequently, on June 25, 2020, when Plaintiff still had

not retained counsel but represented she was in the process of retaining the Gilpin Law Firm, the

Court agreed to give Plaintiff an additional fourteen days to retain new counsel. Doc. 42. The

Court, however, again told Plaintiff that she would be required to proceed on her own if counsel

failed to enter an appearance on her behalf within two weeks, and warned her that the Court

would not allow this case to remain unprosecuted any longer. Id. Despite these warnings,

Plaintiff continues to not prosecute her case. These warnings favor dismissal of Plaintiff’s

claims pursuant to Rule 41.

                                                  12
          Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 13 of 14



           E.        Efficacy of Lesser Sanctions

           This Court has ensured that Plaintiff has had the opportunity to prosecute her case. When

Plaintiff’s counsel moved to withdraw and Plaintiff refused to communicate with him, the Court

required counsel to take extra steps to assure the Court that Plaintiff received proper notice. Doc.

24. When Plaintiff pro se offered explanations of lack of notice regarding her nonappearance at

telephone status conferences and nonresponse to the Court’s Order to Show Cause, the Court

gave her the benefit of the doubt in the face of defense counsel’s disputation of those

explanations. Doc. 36. When Plaintiff pro se requested additional time to retain new counsel,

the Court granted Plaintiff an additional forty-five days, on top of the two months she had prior

to her request.16 Docs. 36, 42. Yet no new counsel has entered an appearance on Plaintiff’s

behalf and there is no indication that new counsel is going to take over this case. Finally, despite

the Court’s repeated warnings, including as recently as June 25, 2020, when the Court explicitly

warned Plaintiff that it would not allow this case to continue to go unprosecuted (Doc. 42),

Plaintiff failed to appear at the Court’s most recent telephone status conference. The Court,

therefore, is persuaded that Plaintiff is not prepared to move this case forward and that nothing

short of dismissal will be effective as an appropriate sanction when considering the history of

this litigation. For these reasons, this factor favors dismissal pursuant to Rule 41.




16
     See fn. 12, supra.


                                                    13
      Case 1:19-cv-00885-MV-JFR Document 45 Filed 07/17/20 Page 14 of 14



                                   RECOMMENDATION

       For the reasons stated above, the Court recommends that Plaintiff’s Complaint for

Damages against American Airlines be DISMISSED.




THE PARTIES ARE NOTIFIED THAT WITHIN 14 DAYS OF SERVICE of a copy of these
Proposed Findings and Recommended Disposition they may file written objections with the Clerk
of the District Court pursuant to 28 U.S.C. § 636(b)(1). A party must file any objections with
the Clerk of the District Court within the fourteen-day period if that party wants to have
appellate review of the proposed findings and recommended disposition. If no objections are
filed, no appellate review will be allowed.




                                            _____________________________________
                                            JOHN F. ROBBENHAAR
                                            United States Magistrate Judge




                                              14
